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UNITED STATES DISTRlCT COURT

 

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KoNRAD KORZENIOWSKI, = CIVIL ACTION No.
Plaimirr, 3:09-Cv-00615 (WWE)
v.

NISSAN MOTOR ACCEPTANCE CORPORATION
Defendant.

APRIL 28, 2009

ANSWER AND AFFIRMATIVE DEFENSE

The defendant Nissan Motor Acceptance Corporation hereby answers and interposes an

affirmative defense to the plaintiff Konrad Korzeni`owski’s complaint which was filed in the

Connecticut Supenor Court Small Claims Session, and subsequently removed on April 15 2009
to this court:

The defendant denies that it placed a credit-bureau inquiry relating to the plaintiff on

October 21, 2008 but admits that it did so on October 9, 2008 The defendant denies that such

inquiry was Without the plaintiffs authorization, and further denies that such inquiry was unlawful
or that the defendant breached any 0f the statutes cited by the plaintiff

BY WAY OF AFFIRMATIVE DEFENSE

The plaintiff has failed to state a claim for which relief may be granted

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DEFENDANT,
NISSAN MOTOR
ACCEPTANCE CORPORATION

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William J. O'Sullivan (ct08452)
Baker O’Sullivan & Bliss PC
Putnam Park, Suite 100
100 Great Meadow Road
Wethersfield, CT 06109-2371
Phone (860) 258-1993
Fax (860) 258-1991
o’Sullivan@boblawyers.com
Its Attorney

CERTIFICATION

I hereby certify that on April 28, 2009, a copy of the foregoing was mailed, postage
prepaid, to the following pro se party of record:

Mr. Konrad Korzeniowski
51 Rackliffe Drive

New Britain, CT 06051
(pro se plaintiff)

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